Case 1:10-cv-01245-DLC Document 7 Filed 10/21/10 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

_______________________________________ X
VERONICA SESSION, '
10 Civ. 1245 (DLC)
Plaintiff,
ORDER
_v_ l
; USDCSDNY

BELCOR BUILDERS iNc. , : DOCUM;_:,NT

De fendant _ ELECTRONICALLY FILED
--------------------------------------- X DOC#: _

_ . DATE Fm§.' 2_./_2_

DENISE COTE, District Judge:

 

 

 

 

 

Having received a letter from the 359 se plaintiff on
October 19, 2010 requesting that the October 22 initial pretrial
conference be rescheduled and counsel for defendant having no
objection to the request, it is hereby

ORDERED that the conference is adjourned to November 19,

2010 at 2 p.m. in Courtroom llB.

Dated: New York, New York
October 21, 2010

£§c

D NISE COTE
United S ates District Judge

   

Case 1:10-cv-01245-DLC Document 7 Filed 10/21/10 Page 2 of 2

COPIES MA]LED TO:

Veronica Session Howard Rosenberg

123 East 39“‘ Street Kreinces & Rosenberg P.C.
Brooklyn, NY11203 900 Merchants Concourse,

Westbury, NY 11590

